UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                               RD-6665
DANIEL WIRSHUP,

                                  PLAINTIFF,
                                                      NOTICE OF MOTION
                 -AGAINST-
                                                      CV05-4086 (ERK)(ARL)
SUFFOLK COUNTY POLICE DEPARTMENT;
THOMAS J. SPOTA; SUFFOLK COUNTY
DISTRICT ATTORNEY’S OFFICE; ASSISTANT
DISTRICT ATTORNEYS JANE AND JOHN
DOES “1”-“5,” KEVIN WARD, JOHN SCOTT
PRUDENTI, AND CHRISTOPHER NICCOLINO;
DETECTIVES/POLICE OFFICERS TOM
ICAPELLI, ROBERT AMATO, RAYMOND
FELICE AND JOHN AND JANE DOES “1”-“5,”
AND THE COUNTY OF SUFFOLK,

                                   Defendants.


         PLEASE TAKE NOTICE, that upon the annexed Affirmation of Richard
T. Dunne, Assistant County Attorney, and upon the accompanying
Memorandum of Law herein, and upon all prior pleadings and proceedings, the
undersigned will move this Court, before the Honorable Edward R. Korman,
U.S.D.J., at the Brooklyn Courthouse, located at 225 Cadman Plaza, Brooklyn,
New York, for judgment on the pleadings pursuant to Rule 56 dismissing the
complaint.
Dated: Hauppauge, New York                   Yours,
       October 31, 2007
                                             CHRISTINE MALAFI
                                             SUFFOLK COUNTY ATTORNEY
                                             Attorney for Defendants
                                             H. Lee Dennison Building
                                             P.O. Box 6100
                                             Hauppauge, New York 11788-0099

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                                      By:    Richard T. Dunne/RD-6665
                                             Assistant County Attorney
To:
Bruce A. Barkett, Esq.
Attorney for Plaintiff
Law Offices of Bruce A. Barkett, P.C.
666 Old Country Road, Suite 600
Garden City, NY 11530
